Case 1:21-cr-00003-RCL Document9 Filed 02/04/21 Page 1 of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v- Case No. 21-cr-3 (RCL)

JACOB ANTHONY CHANSLEY,

Defendant.

 

 

MEMORANDUM
The U.S. Marshal for the District of Columbia has advised the Court that the D.C.
Department of Corrections has requested that defendant be’ removed from their facility
immediately because they are unable to comply with the Court’s F ebriary 3, 2021 Order. See ECF
No. 8. Defendant has been transported by the U.S. Marshals to the Alexandria Detention Center.
The Sheriff there has advised the U.S. Marshal that the Alexandria Detention Center is able and

willing to accommodate defendant’s dietary requests.

Date: February 2021 ah, CG hatte at- Z/Zep.m,

. Hon. Royce C. Lamberth
United States District Judge
